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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION


UNITED STATES OF AMERICA                            3:25-cr-00019-AN

               v.                                    INFORMATION

SUANI HERNANDEZ-ESCOTO,                             21 U.S.C. § 856(a)(1) and 856(b)
DARWIN PERDOMO-MARTINEZ, and
REYNALDO HERNANDEZ-ESCOTO,                          Forfeiture Allegation

               Defendants.

                     THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT 1
                             (Maintaining Drug-Involved Premises)
                               (21 U.S.C. § 856(a)(1) and 856(b))

       On or about May 2, 2024, within the District of Oregon, defendants SUANI

HERNANDEZ-ESCOTO, DARWIN PERDOMO-MARTINEZ, and REYNALDO

HERNANDEZ-ESCOTO did knowingly open, lease, rent, use, or maintain any place, to-wit: a

residence on SE 92nd Avenue, Portland, Oregon, for the purpose of manufacturing, distributing,

or using a controlled substance;

       In violation of Title 21, United States Code, Section 856(a)(1) and 856(b).

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                                 FORFEITURE ALLEGATION
                                 (Controlled Substance Offense)

       Upon conviction of the offense in Count 1, defendants SUANI HERNANDEZ-

ESCOTO, DARWIN PERDOMO-MARTINEZ, and REYNALDO HERNANDEZ-

ESCOTO shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the aforesaid

violations and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of said violations.

Dated: January 16, 2025.                               Respectfully submitted,


                                                       NATALIE K. WIGHT
                                                       United States Attorney


                                                       /s/   Scott Kerin
                                                       SCOTT M. KERIN, OSB # 965128
                                                       Assistant United States Attorney




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